                   EXHIBIT H




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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             CASE NO.: 20-62625-CIV-SINGHAL

  CHANEL, INC.,

         Plaintiff,
  v.

  REPLICASCHANEL.COM, et al.,

         Defendants.



   ORDER AUTHORIZING ALTERNATE SERVICE OF PROCESS ON DEFENDANTS
         PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 4(f)(3)

         THIS CAUSE is before the Court upon Plaintiff’s Motion for Order Authorizing

  Alternate Service of Process on Defendants Pursuant to Federal Rule of Civil Procedure

  4(f)(3) and Memorandum of Law in Support Thereof (the “Motion”) (DE [6]), filed

  December 22, 2020. The Court has carefully considered the Motion and is otherwise fully

  advised in the premises.

         Plaintiff seeks an order granting alternate service of process on Defendants in the

  action, all of which are foreign. Plaintiff alleges that the Defendants have established

  Internet-based businesses and utilize electronic means as reliable forms of contact.

  Therefore, Plaintiff seeks to serve Defendants by both email and website posting.

         Rule 4(h)(2) for the Federal Rules of Civil Procedure (the “Rules”) defines the

  contours of service upon foreign corporations and incorporates the service methods set

  forth regarding individuals in Rule 4(f). Rule 4(f)(3), in turn, provides that service may be

  accomplished “by other means not prohibited by international agreement, as the court




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  orders.” Alternate methods of service under Rule 4(f)(3) are available without first

  attempting service by other means. Rio Props., Inc. v. Rio Int’l Interlink, 284 F.3d 1007,

  1015 (9th Cir. 2002). “So especially in a circumstance where service upon a foreign

  corporation under Rule 4(f)(1) or 4(f)(2) has been cumbersome, district courts have broad

  discretion under Rule 4(f)(3) to authorize other methods of service that are consistent with

  due process and are not prohibited by international agreements.” Brookshire Brothers,

  Ltd. v. Chiquita Brands Int’l, Inc., 2007 WL 1577771, at *2 (S.D. Fla. May 31, 2007) (citing

  Prewitt Enters., Inc. v. Org. of Petroleum Exporting Countries, 353 F.3d 916, 921, 927

  (11th Cir. 2003)).

         For the following reasons, the Court finds that alternate service of process under

  Rule 4(f)(3) is warranted. First, the Hague Convention does not specifically preclude

  service by e-mail and website posting. Where a signatory nation has objected to the

  alternate means of service provided by the Hague Convention, that objection is expressly

  limited to those means and does not represent an objection to other forms of service,

  such as e-mail or website posting. Stat Med. Devices, Inc. v. HTL-Strefa, Inc., 2015 U.S.

  Dist. LEXIS 122000 (S.D. Fla. Sept. 14, 2015) (noting that an objection to the alternate

  forms of service set forth in the Hague Convention on the Service Abroad of Judicial and

  Extrajudicial Documents in Civil or Commercial Matters, Nov. 15, 1965, 658

  U.N.T.S. 16, is limited to the specific forms of service objected to). A court acting under

  Rule 4(f)(3) therefore remains free to order alternate means of service where a signatory

  nation has not expressly objected to those means. See Gurung v. Malhotra, 279 F.R.D.

  215, 219 (S.D.N.Y. 2011). Accordingly, the requested service methods are not prohibited

  by international agreement.




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         Second, Defendants have at least one known and valid form of electronic contact,

  and Plaintiffs have created a website for the sole purpose of providing notice of this action

  to Defendants, the address to which will be provided to Defendants’ known email

  accounts and onsite contact form. Therefore, service via email and through posting on a

  designated website is “reasonably calculated, under all circumstances, to apprise

  [Defendants] of the pendency of the action and afford [it] an opportunity to present [their]

  objections.” See Brookshire Brothers, Ltd., 2007 WL 1577771, at *1. Thus, the Court will

  exercise its discretion to allow service on Defendant through email and website posting.

  Accordingly, it is hereby

         ORDERED AND ADJUDGED as follows:

         1.     The Plaintiff’s Motion for Order Authorizing Alternate Service of Process on

                Defendants Pursuant to Federal Rule of Civil Procedure 4(f)(3) and

                Memorandum of Law in Support Thereof (DE [6]), is hereby GRANTED.

         2.     Pursuant to Rule 4(f)(3), Plaintiff is permitted to serve the Summons,

                Complaint, and all pleadings, filings, and discovery upon Defendants:

                           a. by providing the address to Plaintiff’s designated serving

                              notice website to Defendants via the e-mail addresses

                              provided by each Defendant as part of the domain registration

                              records for each of their respective domain names, including

                              service via registrar, or directly on the Internet website

                              operating under each of their respective corresponding

                              domain names, including customer service e- mail addresses

                              and onsite contact forms. See Schedule “A”




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                           attached to the Motion for Order Authorizing Alternate Service

                           of Process on Defendants Pursuant to Federal Rule of Civil

                           Procedure 4(f)(3) and Memorandum of Law in Support

                           Thereof (DE [6]), which lists Defendants’ means of contact;

                           and

                        b. by publicly posting copies of the Summonses, Complaint, and

                           all pleadings, filings, and discovery on Plaintiff’s designating

                           service       notice        website        appearing         at:

                           http://servingnotice.com/ch4t3u/index.html.

       DONE AND ORDERED in Chambers, Fort Lauderdale, Florida, this 24th day of

 December 2020.




 Copies furnished to counsel of record via CM/ECF




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